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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

AMAZON.COM, INC. and AMAZON
DATA SERVICES, INC.,

Plaintiffs,
v.

WDC HOLDINGS LLC dba NORTHSTAR
COMMERCIAL PARTNERS; BRIAN
WATSON; STERLING NCP FF, LLC;
MANASSAS NCP FF, LLC; NSIPI
ADMINISTRATIVE MANAGER; NOVA
WPC LLC; WHITE PEAKS CAPITAL LLC;
VILLANOVA TRUST; CASEY
KIRSCHNER; ALLCORE DEVELOPMENT
LLC; FINBRIT HOLDINGS LLC;
CHESHIRE VENTURES LLC; CARLETON
NELSON; JOHN DOES 1-20,

CASE NO. 1:20-CV-484-LO-TCB

Defendants.

 

800 HOYT LLC,

Intervening Interpleader
Plaintiff,

V.

BRIAN WATSON, WDC HOLDINGS, LLC,
PLW CAPITAL I, LLC, BW HOLDINGS,
LLC, AMAZON.COM, INC., and AMAZON
DATA SERVICES, INC.

Interpleader Defendants.

 

 

ORDER APPOINTING RECEIVER AND ORDERING
TURNOVER OF PROPERTY TO THE RECEIVER

On September 30, 2021, Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.

(collectively “Amazon”) filed a Motion To Hold Defendants Brian Watson & WDC Holdings LLC
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In Civil Contempt (the “Motion”). Dkt. 347. On October 27, 2021, having reviewed the
arguments and evidence submitted by the parties, the Court entered an Order Granting Plaintiffs’
Motion To Hold Defendants Brian Watson & WDC Holdings In Civil Contempt. Dkt. 413
(“Contempt Order”). Pursuant to that Order, and after due deliberation and consideration of the
submissions directed therein, the Court finds and concludes as follows:

A. On June 5, 2020, the Court entered the Preliminary Injunction (the “Injunction”),
that requires Brian Watson and WDC Holdings LLC dba Northstar Commercial Partners LLC
(collectively “Defendants”) to: (a) secure $ 21,250,000 through the entry and execution of final
judgment in this action by: (i) promptly placing the funds in an escrow account; or (ii) obtaining
and depositing in the Court's Registry a surety bond from a licensed bonding company; or
(iii) relying on a combination of bond and escrow options; and (b) refrain from transferring,
or otherwise disposing of assets used in, or obtained from, any activities relating to Defendants’
real property transactions with Amazon in Virginia since 2018. Dkt. 57 ff 2, 7.

B. On October 27, 2021, the Court issued the Contempt Order finding Defendants in
“willful civil contempt” of the Injunction based on Defendant’s “willful and knowing failure to
comply” with the Injunction. Dkt. 413 4 1.

C. The Contempt Order provides that the Court would separately enter an order
appointing a receiver pursuant to 28 U.S.C. § 754 and Fed. R. Civ. P. 66, with the full power of an
equity receiver and at Defendants’ expense, for the purpose of preventing further irreparable harm
to Plaintiffs and coercing Defendants’ compliance with the Court’s Injunction. Dkt. 413 § 2.

D. On November 3, 2021, pursuant to the Contempt Order, Amazon filed a proposed
order and notice containing the name and qualifications of Mark A. Roberts of Alvarez & Marsal
North America, LLC (“Mark Roberts’) as the proposed receiver. The Court notes that, as of

November 23, 2021, this proposed order and notice remains unopposed.

E. Having reviewed the proposed order, notice, and qualifications submitted, the

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Court finds that Mark A. Roberts possesses the necessary qualifications and is not an attorney for,
or related to, any party in this action.

Based upon the foregoing findings and conclusions, the Motion, and the record before the
Court with respect to the Motion, and after due consideration and good and sufficient cause
appearing therefor,

IT IS HEREBY ORDERED THAT:

l. Mark A. Roberts is hereby appointed as receiver (the “Receiver”) of WDC
Holdings LLC dba Northstar Commercial Partners LLC (“WDC”), R. Brian Watson, and the
Assets (as defined below).

2. The “Assets” include all of the Defendants’ assets, including proceeds, wherever
located, including but not limited to, all of Defendants’: (a) property, real and personal, tangible
and intangible, of whatever kind and description, wherever situated; (b) rights (including rights to
payment and distributions), title, and interest, whether now owned or hereafter acquired in, under
and to any entity (including, but not limited to, the entities set forth in Exhibit A hereto), including
any rights of control, ownership, distribution, and participation (“Subject Entities”); (c) cash and
any bank and brokerage accounts; and (d) claims and causes of action of any type, whether in
equity or in kind, in contract or pursuant to a promissory note or any other enforceable agreement,
in litigation, via settlement, or pursuant to any form of insurance policy or coverage (collectively,
“Causes of Action”).

3. The Receiver shall file with the Clerk of this Court a bond or letter of credit in the
amount of $10,000, either in cash, by firm check, or with sureties approved by the Court,
conditioned that the Receiver will well and truly perform the duties of his office and duly account
for all monies and properties which may come into his hands and abide by and perform all things

which he shall be directed to do under this Order and that he, in the exercise of his authority under
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this Order, determines Defendants are obligated to do with respect to Assets within the purview of
this Order.

4, Defendants, and their officers, directors, partners, managers, agents, servants,
employees, representatives, attorneys, and all persons in active concert or participation with them
who receive notice of this Order by personal service or otherwise, shall immediately deliver to the
Receiver: (a) any and all Assets in the possession or under the control of any one or more of them;
(b) all of Defendants’ past records, including, without limitation, accounting records,
disbursements, banking records, and any other books and records for the period from June 5, 2020
through the date of this Order; (c) all of Defendants’ past records, including, without limitation,
accounting records, disbursements, banking records, and any other books and records requested
by Receiver for periods beyond the period prescribed in (c) above; (d) copies of all material
contracts to which any Defendant is a party and all operating agreements for any limited liability
company and organizational documents for any Subject Entity; and (e) copies of any complaint
filed against, or written demand or claim issued to, any of the Defendants or any Subject Entity.

5. Until further order of this Court, the Receiver is hereby authorized forthwith to take
any actions he deems necessary to the proper and lawful discharge of his responsibilities under
this order and the conduct of Defendants, including the following:

a. Take any actions necessary to take complete and exclusive control,
possession and/or custody, to the extent applicable or to the extent the Receiver deems necessary,
of the Assets, and of any proceeds thereof, to the extent necessary to ensure compliance with the
Court’s Injunction;

b. Take possession of, preserve, insure, protect, and manage the Assets, in
whole or in part, whether in the ordinary course or otherwise, in each case as determined by the

Receiver, or otherwise by contract with respect to all or a portion thereof, including, but not limited
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to: (a) employing advisors, professionals, employees, brokers, auctioneers, appraisers, agents,
clerks, outside accountants, attorneys, and other suppliers of goods and services and paying for
them at ordinary and usual rates from the Assets; and (b) maintaining, insuring, assembling, and
protecting the Assets;

c. Maintain access to and exclusive control of each of Defendants’ bank and
brokerage accounts, provided that Receiver may authorize and approve, in his sole discretion,
expenditures by Watson that either Watson or a designated officer of WDC presents and
documents to Receiver as reasonably necessary to the continued operation or preservation of
WDC, or to the discharge of its responsibilities or obligations, as a going concern, and that
Receiver may also authorize and approve, in his sole discretion, a monthly budget of $10,000 for
Watson’s personal expenses, subject to the Receiver’s authority to approve, in his sole discretion,
advance written requests for specific personal expenditures in excess of this amount up to a
monthly total of $50,000, with any personal monthly expenditures in excess of $50,000 in the
aggregate requiring approval of the Receiver as well as at least three business days advance notice
to, and approval by, the Court;

d. Make all payments and transfers of Assets in satisfaction and compliance
with the Injunction and, to the extent necessary to make such payments, borrow funds and repay
any funds borrowed from the leverage or proceeds of the Assets;

e. Prosecute, settle, compromise, collect, and otherwise enforce any claims or
Causes of Action by Defendants against any other party without need for further approval or
consent of any person; provided, however, that any compromise of claims or Causes of Action in
the original face amounts in excess of $100,000 shall require notice to Defendants and Amazon

and either: (i) consent of all such parties, or (ii) approval by this Court;
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f. Alter the place of payment and the method of collection of any receivables
or other amounts due directly or indirectly to the Defendants where the Receiver deems such
changes reasonably required to ensure proper application of such payments and collections;

g. Communicate with any person or entity and obtain any information and
documents the Receiver deems necessary or useful in furtherance of this Order or the Injunction;

h. Provide quarterly reports to Defendants and Amazon and the Court detailing
the Receiver’s disbursements for paying the costs incidental to the receivership activities
encompassed by this Order, any payments to or for the expenses of Defendants, and describing the
Receiver’s activities and the financial and operational status of Defendants;

i. Sell publicly traded securities and sell other Assets to generate cash
available to fund the escrow account or secure a bond in compliance with the Injunction (or to
pledge securities and other Assets to secure such bond), provided that any sales or pledge of Assets
valued at more than $50,000 at the time of same other than publicly traded securities shall be
completed only after notice to Defendants and Amazon and either: (i) consent of all such parties,
or (ii) approval by this Court;

j. Exercise, subject to the limits of this Order including the requirements for
Court approval of certain disposition, the full authority, with power of attorney on behalf of and
in the name of Defendants, to: (a) execute and deliver any and all of the documents, including,
but not limited to, contracts, brokers’ or advisors’ retention agreements, purchase and sale
agreements, deeds of conveyance, closing statements, settlement statements, affidavits requested
by title companies, and any other documents necessary or helpful to the performance of the
Receiver’s duties as more fully set forth herein; (b) sign on behalf of Defendants any such
documents; (c) sign on behalf of Defendants any invoices, or notices to account debtors, or

contracts necessary or helpful to the performance of his activities provided for herein; (d) endorse
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on behalf of any Defendant any negotiable collateral that may come into the possession or control
of the Receiver; (e) initiate, defend, make, settle, and/or adjust all claims under Defendants’
policies of property or other insurance and make all determinations and decisions with respect to
such policies of property or other insurance, and notify any and all insurers under any such policies
of property or other insurance that any proceeds paid thereunder shall be paid to the Receiver until
such time as such insurance carriers are advised to the contrary by this Court or until such insurance
carriers receive a certificate issued by the Clerk of this Court evidencing a final dismissal of this
action following a final judgment on the merits or settlement of all claims with Amazon; (f)
institute, defend, settle and/or adjust disputes and claims respecting the Assets, including any
claims to avoid transfers made with the purpose or effect of diminishing Defendants’ capacity to
comply with the Injunction and any claims to recover amounts that were both related to the
Amazon transactions and disbursed in violation of the Injunction after it was entered on June 5,
2020, for amounts and upon terms that the Receiver determines to be reasonable; (g) obtain, review
and analyze any past records, including, without limitation, accounting records, disbursements,
banking records, and any other books and documents in furtherance of the Receiver’s duties
hereunder; (h) pay prior obligations incurred by the Defendants, by their agents, officers, directors,
partners, managers, and servants, or any other person or entity charged with the responsibility of
maintaining and operating the Assets, if such obligations are deemed by the Receiver to be
reasonably necessary or advisable, subject in all respects to this Order and the Injunction; and (i)
cause to be executed and delivered any documents and releases that Receiver determines to be
reasonably necessary, and at all times consistent with the terms of this Order. The appointment of
the Receiver as Defendants’ attorney-in-fact with respect to the Assets, and each and every one of
his rights and powers, being coupled with an interest, is irrevocable until the receivership is

discharged by this Court;
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k. Exercise the full authority, as attorney-in-fact, on behalf of and in the name
of Defendants, to: (a) take any and all actions that may be required or desirable to preserve, renew
and maintain the legal existence and good standing of Defendants, as applicable, in such
jurisdictions where they conduct business; (b) take any and all actions that may be required or
incidental to preserve, renew and maintain the qualification and authority (including any applicable
licenses and regulatory authority) to do business and good standing in each other jurisdiction where
it is necessary or desirable for Defendants to conduct business paying applicable franchise taxes;
(d) execute and deliver any and all documents, reports, or other forms in furtherance of the
Receiver’s responsibilities herein; and (e) engage in all actions reasonable or necessary to
accomplish the foregoing responsibilities;

I. Incur the risks and obligations ordinarily incurred by owners, managers, and
operators of similar businesses and enterprises, and no such risk or obligation so incurred shall be
the personal risk or obligation of the Receiver, but rather a risk or obligation to be paid solely from
the receivership Assets;

m. (i) take possession of and receive any money on deposit from any banks
with which any Defendant maintains accounts, and upon the receipt by the Receiver of said funds,
to discharge any bank from further responsibility for accounting to any Defendants for funds which
the Receiver has taken; and (ii) issue demands for the freezing and turnover of funds to any
financial institution or title company (or escrow agent), in each case, where determined by
Receiver to be necessary or appropriate to comply with the terms of the Injunction or this Order;

n. Delete the authorized signatories on any account of Defendants and replace
the same with the name of the Receiver or his designee;

0. Take possession of, or obtain access to, the books, papers, records, invoices,

and receipts of Defendants on a continuing basis, including without limitation Defendants’
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electronic mail and other electronic correspondence (including any servers containing the
foregoing);

p- Take possession of, and obtain access to, all books, records, documentation
of any kind or nature, financial documents, contracts, bills or invoices of vendors (or other
documents that describe the work such vendors performed and the amounts due and owing to
them), and other documents, including copies of all records or documents on electronic media or
in computer memory, wherever located; provided, however, nothing contained in this Order shall
result in a waiver of any attorney privilege held by any of Defendants; and

q. Collect and process all inbound mail addressed to any Post Office Box
owned or controlled by any Defendant (or any managers or registered or other agents acting on
behalf of any Defendant) if the mail is addressed to any Defendant or any Defendant’s officer,
manager, or registered agent.

6. Until further Order of the Court, Defendants and all persons acting on behalf of or
in concert with Defendants are enjoined from taking any of the following actions:

a. Selling, transferring, assigning, encumbering, disposing of, or otherwise
impairing any Asset, except as permitted by the limited provisions for capped business and
personal expenditures expressly set forth herein, without authorization from the Receiver, who,
for the avoidance of doubt, shall authorize transactions that the Receiver deems consistent with the
terms of the Injunction and this Order or are directed by the Court;

b. Modifying, amending, transferring, selling, assigning, revoking, returning,
terminating or canceling any contract or agreement related to the Assets without the express written
consent of the Receiver,

c. Interfering with, obstructing, or preventing in any way, the Receiver’s

actions pursuant to this Order;
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d. Interfering in any other way with the Receiver, directly or indirectly.

7. Any money or other Assets coming into the possession of the Receiver and not
expended for any of the purposes authorized herein shall be remitted, as necessary and appropriate,
to satisfy Defendants’ obligations under the Injunction.

8. The Receiver shall be exclusively vested with: (a) all the powers of officers,
directors, members, and/or managers (as applicable) of Defendant WDC Holdings LLC to take (or
refrain from taking) any and all actions on behalf of WDC Holdings LLC and (b) each of
Defendants’ rights and powers to act on behalf of any other entity (including as an officer, director,
manager, or equity holder), to direct such other entity to take (or refrain from taking) any action in
furtherance of the terms under the Injunction and this Order, in each case, until further Order of
the Court.

9. The Receiver shall have no liability to any party, unless the Receiver has been found
by this Court or another court of competent jurisdiction (after the conclusion of any appeals and
further rights of appeal) to have engaged in willful misconduct, fraud, gross negligence, or
conversion. Subject to the foregoing, any debts, liabilities, or obligations incurred by the Receiver
in the course of this receivership, including the operation or management of the Assets, whether
in the name of the Receiver or the Assets or the receivership estates, shall be the debt, liability,
and obligation of the receivership estate only and not of the Receiver or any employee or agent
thereof personally. All who are acting, or have acted, on behalf of the Receiver at the request of
the Receiver, are protected and privileged with the same protections of this Court as the Receiver
enjoys.

10. To the extent that there is any disagreement arising between the Receiver and
Amazon or Defendants in connection with the matters relating to this receivership, this Court shall

have jurisdiction to resolve such disputes.

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11. All persons, including employees, agents, creditors, banks, investors, or others,
with notice of this Order, are enjoined from in any way disturbing the Assets and from prosecuting
any actions or proceedings designed to collect their debts or which involve the Receiver or which
affect the property of Defendants, to the extent that the same would interfere with or disturb these
receivership proceedings, without the permission of this Court; provided, however, that nothing
herein shall preclude any party with standing from seeking relief from this Order on proper
application and after notice and a hearing. Any actions in violation of this Paragraph shall be null
and void as acts in contravention of this Order.

12. The Receiver is hereby authorized to defend, compromise and adjust any actions or
proceedings in state or federal courts or other tribunals, including agency or mediation
proceedings, now pending or hereafter instituted by Defendants or their agents, as the Receiver
may in his sole discretion deem advisable or proper for the protection of the Assets and in
furtherance of the Injunction and this Order; and to investigate, institute, prosecute, compromise
and adjust actions in state or federal courts or other tribunals, including agency or mediation
proceedings, as the Receiver may in his sole discretion deem advisable or proper to recover Assets
or proceeds thereof improperly or unlawfully held by any person, including but not limited to
Defendants; and in that connection the Receiver is hereby indemnified and held harmless by the
receivership estate for any judgment, costs, or expenses suffered or incurred by him or any of his
agents or attorneys as a result of actions instituted against him or them in relation to the discharge
of their duties aforesaid or in carrying out or furtherance of this Order; provided, however, that
nothing herein shall be construed to indemnify the Receiver to the extent that any judgment, costs,
or expenses that has been found by this Court or another court of competent jurisdiction (after the
conclusion of any appeals and further rights of appeal) to have arisen from the gross negligence,

willful misconduct, or fraud of the Receiver or any of his agents or attorneys.

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13. It is the intent of the Court that this Order apply to all Assets.

14. The Receiver shall make available to Amazon and the Defendants, for inspection
and copying, any and all books and records of Defendants relating to the Assets, now or hereafter
in existence.

15. | The Receiver shall keep Amazon and the Defendants apprised at reasonable
intervals, and at least once each quarter, of all information and developments concerning the
operation of the receivership, until the receivership is terminated.

16. The Receiver shall maintain accurate accounting and other records of its activities
in connection herewith, and shall file reports detailing the results from collections, operations, and
distributions of the Assets on a quarterly basis or as subsequently ordered by the Court.

17. The Receiver and his employees, advisors, agents, and professionals shall be
compensated, without further order of this Court, for services at their standard hourly rates, plus
reimbursement of all reasonable and necessary out-of-pocket expenses. All such fees and expenses
shall be payable from the Assets, which as defined herein include insurance policies applicable to
this and other litigation. The Receiver shall be authorized to obtain insurance coverage, including,
but not limited to, coverage with respect to the liabilities, duties and obligations of the Receiver
hereunder (in the form of an errors and omissions policy, general liability, or otherwise), as the
Receiver deems reasonably necessary or appropriate, the costs of which shall be payable from the
Assets.

18. The Receiver shall be entitled to resign upon 30 days’ advance written notice to
Amazon, the Defendants, and the Court, in which case a successor Receiver shall be promptly
appointed by the Court. Nothing in this Order shall require the Receiver to continue in his services
hereunder in the event the Assets are insufficient to pay the fees and expenses of the Receiver and

his professionals in the ordinary course. In the event any fees or expenses of the Receiver or his

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professionals remain unpaid upon resignation, or if any indemnity obligation payable to the
Receiver under this order remains unsatisfied, and no immediately available funds from the Assets
are available to pay such amounts, the outstanding fees or expenses of the Receiver and his
professionals, and any applicable indemnity obligation owing hereunder, shall be payable
promptly by Amazon upon written request.

19. This Court shall retain exclusive jurisdiction over any matter or dispute arising from
or relating to the interpretation or implementation of this Order.

IT IS SO ORDERED.

DATE: Nov ‘a3, 3031 LW
Judge Liatn O'Grady
United States District Judge
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EXHIBIT A

POTENTIAL AFFILIATES OF BRIAN WATSON AND WDC HOLDINGS LLC

100 Rio Grande LLC

10180 E. Colfax, LLC

10488 Centennial Road, LLC
11170 E 47th, LLC

12000 E. 47th, LLC

1201 Mansfield, LLC

1270 Cordillera Way, LLC
12980 Old Hickory, LLC
14531 E. Alameda, LLC
1601 Gillingham LLC

237 AMS, LLC (dba Aspen Moving &
Storage)

237 Park, LLC
2800 Summit Avenue, LLC

2820 Zuni LLC (previously JSF
Micro, LLC)

3190 S. Vaughn, LLC
3535 Quebec LLC

3535 Quebec Partners, LLC
3840 S. Wadsworth, LLC
3955 Forest, LLC

4049 Raines, LLC

4200 Garfield, LLC

4345 Oneida, LLC

4750 Nome, LLC

4995 Lima, LLC

5005 Ironton, LLC

5075 Vasquez, LLC

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5115 Race, LLC

5500 South Quebec DE, LLC
5500 South Quebec Holdings, LLC
5500 South Quebec, LLC
5882 S. Youngfield, LLC
6201 E 42ND, LLC

7000 W. 25th, LLC

7080 Eudora, LLC

77 Sugar Creek DE, LLC

77 Sugar Creek Manager, LLC
77 Sugar Creek, LLC

7899 Lexington, LLC

800 Hoyt, LLC

8136 Grant, LLC

8140 Quality Drive, LLC

830 Potomac, LLC

8878 Barrons Boulevard, LLC
900 Wyandot, LLC

9200 E. Mineral, LLC

9305 Montview, LLC

9494 Federal, LLC

970 Yuma, LLC

Agoura Hills NCP, LLC
AJNS Holdings LLC

Akos MOB I LLC

Albany NCP, LLC

Ann Arbor NCP, LLC
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Ann Arbor Senior Living JV, LLC
Ann Arbor Senior Living Owner, LLC
Ann Arbor Senior Living, LLC
Arlington NCP, LLC (dba South
Arlington Texas NCP, LLC)
Augusta NCP, LLC
Bold Legal LLC
Brockport NCP, LLC
Bryant Street Center, LLC
BW Holdings, LLC
BW Investments, LLC
CC Highlands, LLC
CCP I and II Holdings, LLC
CCP [| and II, LLC
Chandler Commons, LLC
Chandler NCP, LLC
Colfax and Sable Self-Storage, LLC
Colfax and Sable, LLC (aka Colfax &
Sable, LLC)
Columbia NCP, LLC
Dabling Investment, LLC
Dabling Partners, LLC
Dabling Properties, LLC
Dilecti Fortunae LLC
Dimija Investments, LLC
Dry Creek Centre, LLC
Dulles NCP II, LLC
Dulles NCP, LLC
Equitable 200, LLC
Gateway Land Investment, LLC
Gateway Retail Investment, LLC

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Gateway Self-Storage Manager, LLC
Gateway Self-Storage NCP, LLC
Gateway Self-Storage, LLC

Global Broker LLC

GMA Partners, LLC (dba GoMoney
ATM)

Greenfield Investment Group LLC
Greens at Inverness, LLC

Harvest J Land, LLC

Horseheads NCP, LLC

Hoyt Development, LLC

Integrated Capital Management LLC
Integrated Realty Capital I LP

IRC Malibu Sidecar GP LLC

IRC Malibu Sidecar LLC

IRC Malibu, LLC

Jeffco Buildings Design, LLC

JM Capital IV, LLC

JM Capital VII, LLC

JM Capital, LLC

Lafayette NCP Manager, LLC
Lafayette NCP, LLC

LMLC Rockford, LLC

LMLC North Chicago, LLC

LMLC Northstar, LLC (previously LM
Omaha, LLC)

Manassas NCP FF, LLC

Manassas NCP, LLC

Memphis NCP, LLC

Meridian NCP, LLC
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Midtown Construction Company, LLC
112 (previously Midtown Group
Construction Company, LLC)
Midtown Group, LLC

Milan NCP, LLC

Mountain Vista NCP, LLC

Mt. Pocono NCP, LLC

MV NCP, LLC

MV Northstar, LLC

Time to Give, Inc.

NCP 1221 Broadway LLC (aka 1221
Broadway, LLC)

NCP 2007, LLC

NCP 2013, LLC

NCP 2014, LLC

NCP Capital Management, LLC
(previously NCP Management, LLC)
NCP Freedom, LLC

NCP Interests, LLC

NCP Katy, LLC

NCP Management Parent, LLC
NCP Mezzanine Vehicle, LLC
NCP MW Parkside Member, LLC
NCP Parkside Investor, LLC

NCP Preferred Equity Vehicle, LLC
NCP/MW Parkside Manager, LLC
(aka NCP MW Parkside Manager,
LLC)

NCPAC, LLC

NCPGM 2015, LLC

NCPGM Cobb, LLC

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NCPGM Georgia, LLC

NCPPCC, LLC

NHRD Trinity LLC

Northstar ACI Partners, LLC
(previously from Northstar Alto
Partners, LLC)

Northstar Commercial Partners
Management, LLC

Northstar Data Center Development,
LLC

Northstar Development Partners, LLC
(Previously Northstar Development,
LLC)

Northstar Fund Manager II, LLC
Northstar Fund Manager, LLC
Northstar Healthcare Development,
LLC

Northstar Integrity Growth Fund, Inc.
Northstar One, LLC

Northstar Opportunistic Real Estate
Investment Fund, LLC

Northstar Portfolio, LLC

NSIPI Administrative Manager, LLC
NSIPI Data Center Venture, LLC
NSREF Fund Manager LLC

NSREF LS LLC

NSREF RE LLC

Opportunity Coalition

Parkside Aurora, LLC

Peak Party Rentals, LLC

Pelham NCP, LLC
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Phenix City I NCP, LLC

Phenix City II NCP, LLC
Pinnacle at RidgeGate MOB, LLC
Pinnacle at Ridgegate, LLC
Pinnacle NCP Manager, LLC
PLW Capital I, LLC

PLW Dabling Capital, LLC

PLW Gateway Capital, LLC

PLW Mineral Capital, LLC

Quail Ridge NCP, LLC

RBW Brokerage, LLC

RBW Capital, LLC

Redlands NCP LLC

Rice Lake Cedar Mall, LLC
Riverside Chicago IT NCP, LLC
Riverside Chicago NCP, LLC
Riverside MAKS NCP, LLC
Riverside Spruce NCP, LLC
Shelton NCP, LLC

Shelton NCP, LLC

Skyville Ad 1, LLC

South Wadsworth Investors, LLC
St. Paul NCP, LLC

Stapleton Senior Living, LLC
Sterling NCP FF, LLC

Sterling NCP I, LLC

Sterling NCP Manager Parent, LLC
Sterling NCP Manager, LLC
Strategic Real Estate Ventures Fund
Manager, LLC

Strategic Real Estate Ventures, LLC

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Surprise Industrial NCP, LLC
Surprise Retail NCP, LLC

The Brian Watson Foundation

The Education Empowerment Fund
The Education Opportunity Fund, LLC
The Vault, LLC

Twin Lakes Business Park, LLC
Vista Gardens Manager, LLC

Vista Gardens NCP, LLC

Vista Gardens Operator, LLC

Vista Gardens Property, LLC
(previously Vista Gardens, LLC)
Vista Gardens Solar, LLC

W.D.C. Holdings, LLC (aka WDC
Holdings, LLC) (dba Northstar
Commercial Partners)

Wadsworth Development, LLC
Wadsworth Retail Development, LLC
Watson CLU, LLC

Watson Development Company, LLC
Watson Music Development, LLC
Watson Potomac Investment, LLC
Welbrook Bloomington Operating
Company, LLC (previously Welbrook
Management Operating Company,
LLC)

Welbrook Bloomington, LLC
Welbrook Las Cruces, LLC

West Point Investment, LLC

West Point NCP, LLC
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Westcreek C&G I, LLC (previously 7-
Eleven Westcreek, LLC)

Westcreek C&G Midtown I, LLC
Westcreek Retail II, LLC
WREI-Florida, LLC

WSL Avondale AZ LLC

WSL Farmington NM, LLC

WSL Las Cruces, LLC

WSL Santa Fe NM LLC

XCEL Payments, LLC

Yakima NCP, LLC

1221 Broadway, LLC

Integrated Realty Advisors LLC
10488 Centennial LLC

PLW Mineral, LLC

The Auerbach Opportunity Fund I, LP
The Auerbach Opportunity Fund LP
Integrated Realty Capital I GP LLC
LMLC Naperville, LLC

NCP Enterprise Management
Northstar Enterprise Opportunity
Fund, LLC

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